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                                   8                         UNITED STATES DISTRICT COURT
                                   9                       CENTRAL DISTRICT OF CALIFORNIA
                                  10   SEAN DEMARCO, individually and         Case No. 2:19-cv-05071
                                       on behalf of all others similarly
                                  11   situated,                              CLASS ACTION
                                                    Plaintiff,
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                                  12
                                                                              CLASS ACTION COMPLAINT
                                  13         v.
                                  14   QUEST DIAGNOSTICS
                                       INCORPORATED d/b/a QUEST
                                  15   DIAGNOSTICS INCORPORATED
                                       OF NEVADA; OPTUM360
                                  16   SERVICES, INC.; and AMERICAN
                                       MEDICAL COLLECTION AGENCY
                                  17   a/k/a RETRIEVAL-MASTERS                JURY TRIAL DEMANDED
                                       CREDITORS BUREAU, INC.,
                                  18
                                                    Defendants.
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                                                                                                 Case No. 2:19-cv-05071
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                                  1         Plaintiff Sean DeMarco (“Plaintiff”), individually and on behalf of the general
                                  2   public and all others similarly situated (the “Class members”), by and through his
                                  3   attorneys, upon personal knowledge as to facts pertaining to himself and on
                                  4   information and belief as to all other matters, brings this action against Defendants
                                  5   Quest Diagnostics Incorporated (“Quest”); Optum360 Services, Inc. (“Optum 360”);
                                  6   and American Medical Collection Agency (“AMCA”) (collectively, “Defendants”),
                                  7   and respectfully state the following:
                                  8                                NATURE OF THE CASE
                                  9         1.     Quest Diagnostics is a leading provider of medical diagnostic testing,
                                 10   information and services. Its services range from routine blood testing to complex,
                                 11   gene-based and molecular testing. With one of the largest clinical laboratory testing
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                                 12   networks in the United States, Quest annually serves one in three adult Americans
                                 13   and half the physicians and hospitals in the United States. Quest Diagnostics’ billing
                                 14   is conducted through its partnership with Optum360, who outsources collections to
                                 15   AMCA.
                                 16         2.     On June 3, 2019, Quest Diagnostics revealed that personally identifiably
                                 17   information (“PII”) and protected health information (“PHI”) (collectively,
                                 18   “PII/PHI”) of nearly 12 million of its patients had been accessed by unauthorized
                                 19   parties due to the negligent data security of AMCA, its third-party billing collections
                                 20   firm (the “Data Breach”). The PII/PHI accessed included, but was not limited to,
                                 21   Plaintiff’s and Class members’ personal information (including Social Security
                                 22   Numbers), financial information (credit card numbers and bank account information),
                                 23   and personal medical information.
                                 24         3.     AMCA knew or should have known about the Data Breach as early as
                                 25   March 1, 2019 but waited over two months to disclose it to Quest Diagnostics and
                                 26   Optum360 (on May 14, 2019) who waited another twenty days to inform Plaintiff and
                                 27   Class members (on June 3, 2019).
                                 28
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                                  1         4.     At least some of Plaintiff and Class member information already appears
                                  2   up for sale on the dark web. In February 2019, Gemini Advisory, a New York-based
                                  3   company that monitors underground markets trafficking in breached data, discovered
                                  4   PII/PHI from AMCA being sold on the dark web.
                                  5         5.     Defendants had a legal duty to protect the PII/PHI of Plaintiff and Class
                                  6   members. For instance, California’s Confidentiality of Medical Information Act
                                  7   (“CMIA”), Civil Code §§ 56, et seq., protects the confidentiality of individually
                                  8   identifiable medical information obtained by a health care provider. Defendants
                                  9   breached the CMIA by failing to adequately secure Plaintiff’s and Class members’
                                 10   PII/PHI.
                                 11         6.     On top of their legal duty, Defendants promised Plaintiff and Class
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                                 12   members their PII/PHI was protected. Quest Diagnostics tells patients that it is
                                 13   “committed to protecting the privacy of your identifiable health information.”
                                 14   Optum360 similarly “recognize[s] that the privacy of your personal information is
                                 15   important,” promising to “safeguard the information of those we serve.”
                                 16         7.     Defendants’ wrongful actions, inaction, and omissions directly and
                                 17   proximately caused the Data Breach. Specifically, Defendants failed to maintain
                                 18   reasonable and/or adequate security measures to protect Plaintiff’s and Class
                                 19   members’ PII/PHI from unauthorized access and disclosure, apparently lacking, at a
                                 20   minimum: (1) reasonable and adequate security measures designed to prevent this
                                 21   attack even though Defendants knew or should have known that it was a prized target
                                 22   for hackers; and (2) reasonable and adequate security protocols to promptly detect the
                                 23   unauthorized intrusion into and removal of PII/PHI from its database pertaining to
                                 24   nearly 12 million Data Breach victims.
                                 25         8.     Defendants’ failure to secure Plaintiff’s and Class members’ PII/PHI has
                                 26   resulted in ongoing harm to Plaintiff and Class members who will continue to
                                 27   experience data insecurity for the indefinite future and remain at serious risk of
                                 28   identity theft and medical fraud.
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                                  1          9.    Accordingly, Plaintiff, on behalf of himself and all others similarly
                                  2   situated, seeks redress from Defendants for, inter alia, violations of California’s
                                  3   Confidentiality of Medical Information Act, Civil Code §§ 56, et seq., California’s
                                  4   Customer Records Act, Civil Code §§ 1798.80, et seq. (“CRA”), California’s Unfair
                                  5   Competition Law (“UCL”), Bus. & Prof. Code §§ 17200, et seq., and common law.
                                  6   Plaintiff, on behalf of himself and all others similarly situated, seeks (i) actual and
                                  7   other economic damages, consequential damages, nominal damages, and/or statutory
                                  8   damages, (ii) punitive damages, and (iii) attorneys’ fees, litigation expenses and costs
                                  9   of suit.
                                 10                                         PARTIES
                                 11          10.   Plaintiff Sean DeMarco resides in Torrance, California. For the past year,
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                                 12   Plaintiff has obtained laboratory services from Quest Diagnostics at several locations
                                 13   in Torrance, California. During these visits Plaintiff provided Quest with confidential
                                 14   PII/PHI that was shared with the other Defendants. At least one of Plaintiff’s bills for
                                 15   services provided by Quest Diagnostics was sent to AMCA for collections.
                                 16          11.   Plaintiff believed, at the time of using Quest Diagnostics, that it would
                                 17   maintain and ensure the privacy and security of his PII/PHI. Part of the money paid
                                 18   to Quest was for adequate data security. Plaintiff would not have used Quest had he
                                 19   known that it would expose, or allow to be exposed, his PII/PHI, making it available
                                 20   to unauthorized parties. As a result of Defendants’ wrongful actions, inaction and/or
                                 21   omissions, Plaintiff has suffered (and will continue to suffer) economic damages and
                                 22   injury and harm, including: (i) substantial risk for identity theft1 and medical fraud2;
                                 23
                                      1
                                 24          According to the United States Government Accounting Office (GAO), the
                                      terms “identity theft” or “identity fraud” are broad terms encompassing various types
                                 25
                                      of criminal activities. Identity theft occurs when PII is used to commit fraud or other
                                 26   crimes. These crimes include, inter alia, credit card fraud, phone or utilities fraud,
                                      bank fraud and government fraud (theft of government services, including medical
                                 27
                                      services).
                                 28   2
                                             Medical fraud (or medical identity theft) occurs when a data thief uses a
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                                  1   (ii) invasion of privacy; (iii) breach of the confidentiality of his PII/PHI;
                                  2   (iv) deprivation of the value of his PII/PHI, for which there is a well-established
                                  3   national and international market; and/or (v) the financial and/or temporal cost of
                                  4   monitoring his credit, monitoring his financial accounts and medical records, among
                                  5   others, and mitigating his damages – for which he is entitled to compensation.
                                  6         12.    Defendant Quest Diagnostics Incorporated is a Nevada corporation that
                                  7   does business in California as Quest Diagnostics Incorporated of Nevada. The
                                  8   principal place of business for Quest Diagnostics Incorporated is Secaucus, New
                                  9   Jersey. Quest Diagnostics is a leading provider of diagnostic testing, information and
                                 10   services. Its services range from routine blood testing to complex, gene-based and
                                 11   molecular testing. With one of the largest clinical laboratory testing networks in the
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                                 12   United States, Quest annually serves one in three adult Americans and half the
                                 13   physicians and hospitals in the United States.
                                 14         13.    Defendant Optum360 Services, Inc. is a Delaware corporation with its
                                 15   principal place of business in Eden Prairie, Minnesota. Optum is a leading information
                                 16   and technology-enabled health services business and a leader in revenue management
                                 17   solutions for health care providers. In September 2016, Quest Diagnostics and Optum
                                 18   partnered together. Through this partnership Quest Diagnostics’ revenue services
                                 19   operations became part of Optum360. These operations, including approximately
                                 20   2,400 Quest employees, moved to Optum360 and continued to support Quest
                                 21   customers. One goal of the partnership was to increase the use of diagnostic
                                 22   information services, such as data analytics, population health insights and
                                 23   connectivity solutions, to help improve health care effectiveness and manage costs for
                                 24
                                 25
                                      victim’s name or health insurance numbers to see a doctor, get prescription drugs, file
                                 26   claims with insurance providers, or obtain other medical care. See
                                 27   http://www.consumer.ftc.gov/articles/0171-medical-identity-theft. If the thief’s
                                      health information is mixed with the victim’s information, the victim’s medical
                                 28   treatment, insurance and payment records, and credit report may be affected. Id.
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                                  1   health plans and care providers.
                                  2         14.    Defendant American Medical Collection Agency, which also does
                                  3   business as Retrieval-Masters Creditors Bureau, Inc., is a New York corporation with
                                  4   its principal place of business in Elmsford, New York. AMCA describes itself as the
                                  5   leading recovery agency for patient collections servicing laboratories, hospitals,
                                  6   physician groups, billing services and medical providers across the country. AMCA
                                  7   provides billing collections services to Optum360, which in turn is a Quest contractor.
                                  8                              VENUE AND JURISDICTION
                                  9         15.    This Court has subject matter jurisdiction over this action under the Class
                                 10   Action Fairness Act, 28 U.S.C. § 1332(d), because this is a class action involving
                                 11   more than 100 Class members, the amount in controversy exceeds $5 million
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                                 12   exclusive of interest and costs, and many members of the Class are citizens of states
                                 13   different from Defendants.
                                 14         16.    This Court has personal jurisdiction over Quest Diagnostics Incorporated
                                 15   because Quest is authorized to conduct business in California and does, in fact,
                                 16   conduct business in California. Upon information and belief Quest has over 400
                                 17   laboratories throughout California. As such, Quest has sufficient minimum contacts
                                 18   with the state to render exercise of jurisdiction by this Court in compliance with
                                 19   traditional notions of fair play and substantial justice.
                                 20         17.    This Court also has personal jurisdiction over Optum360 Services, Inc.
                                 21   because Optum360 is authorized to conduct business in California and does, in fact,
                                 22   conduct business in California. Optum360 has offices in California. As such,
                                 23   Optum360 has sufficient minimum contacts with the state to render exercise of
                                 24   jurisdiction by this Court in compliance with traditional notions of fair play and
                                 25   substantial justice.
                                 26         18.    This Court has personal jurisdiction over American Medical Collection
                                 27   Agency doing business as Retrieval-Masters Creditors Bureau, Inc. because
                                 28   Retrieval-Masters Creditors Bureau, Inc. is authorized to and conducts substantial
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                                  1   business in California and has a principal office in California located at 1215 West
                                  2   Imperial Highway, Suite 215, Brea, California 92621. AMCA therefore has sufficient
                                  3   minimum contacts with the state to render exercise of jurisdiction by this Court in
                                  4   compliance with traditional notions of fair play and substantial justice.
                                  5         19.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391
                                  6   because Defendants regularly conduct business in this district, unlawful acts or
                                  7   omissions are alleged to have occurred in this district, and Defendants are subject to
                                  8   personal jurisdiction in this district because they have availed themselves of the laws
                                  9   and markets within this district.
                                 10                               FACTUAL ALLEGATIONS
                                 11                          PII/PHI Is a Valuable Property Right
                                                    PII/PHI is a valuable property right.3 In a Federal Trade Commission
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                                 12         20.
                                 13   (“FCC”) roundtable presentation, former Commissioner, Pamela Jones Harbour,
                                 14   underscored this point by observing:
                                 15               Most consumers cannot begin to comprehend the types and amount
                                                  of information collected by businesses, or why their information may
                                 16
                                                  be commercially valuable. Data is currency. The larger the data set,
                                 17               the greater potential for analysis – and profit.4
                                 18         21.     The value of PII/PHI as a commodity is measurable.5 “PII, which
                                 19   companies obtain at little cost, has quantifiable value that is rapidly reaching a level
                                 20
                                 21   3
                                             See John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally
                                 22   Identifiable Information (“PII”) Equals the “Value” of Financial Assets, 15 RICH.
                                      J.L. & TECH. 11, at *3-4 (2009) (“PII, which companies obtain at little cost, has
                                 23   quantifiable value that is rapidly reaching a level comparable to the value of
                                 24   traditional financial assets.”) (citations omitted).
                                      4
                                             Federal Trade Commission, Statement of FTC Commissioner Pamela Jones
                                 25
                                      Harbour (Remarks Before FTC Exploring Privacy Roundtable) (Dec. 7, 2009),
                                 26   available at https://www.ftc.gov/public-statements/2009/12/remarks-ftc-exploring-
                                      privacy-roundtable.
                                 27   5
                                             See Robert Lowes, Stolen EHR [Electronic Health Record] Charts Sell for $50
                                 28   Each      on      Black       Market       (April    28, 2014),     available      at
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                                  1   comparable to the value of traditional financial assets.”6 It is so valuable to identity
                                  2   thieves that once PII/PHI has been disclosed, criminals often trade it on the “cyber
                                  3   black-market” for several years.
                                  4         22.    Companies recognize PII/PHI as an extremely valuable commodity akin
                                  5   to a form of personal property. For example, Symantec Corporation’s Norton brand
                                  6   has created a software application that values a person’s identity on the black market.7
                                  7         23.    As a result of its real value and the recent large-scale data breaches,
                                  8   identity thieves and cyber criminals have openly posted credit card numbers, SSNs,
                                  9   PII and other sensitive information directly on various Internet websites making the
                                 10   information publicly available. This information from various breaches, including the
                                 11   information exposed in the Data Breach, can be aggregated and become more valuable
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                                 12   to thieves and more damaging to victims. In one study, researchers found hundreds of
                                 13   websites displaying stolen PII and other sensitive information. Strikingly, none of
                                 14   these websites were blocked by Google’s safeguard filtering mechanism – the “Safe
                                 15   Browsing list.”
                                 16         24.    PHI is particularly valuable. All-inclusive health insurance dossiers
                                 17   containing sensitive health insurance information, names, addresses, telephone
                                 18   numbers, email addresses, Social Security numbers and bank account information,
                                 19   complete with account and routing numbers, can fetch up to $1,200 to $1,300 each on
                                 20   the black market.8 According to a report released by the Federal Bureau of
                                 21
                                 22
                                 23   http://www.medscape.com/viewarticle/824192.
                                      6
                                 24          See Soma, Corporate Privacy Trend, supra.
                                      7
                                             Risk Assessment Tool, Norton 2010, www.everyclickmatters.com/victim/
                                 25
                                      assessment-tool.html.
                                 26   8
                                             Adam Greenberg, Health Insurance Credentials Fetch High Prices in the
                                 27   Online      Black       Market       (July     16, 2013),      available       at
                                      https://www.scmagazine.com/home/security-news/health-insurance-credentials-
                                 28   fetch-high-prices-in-the-online-black-market/.
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                                  1   Investigation’s (“FBI”) Cyber Division, criminals can sell healthcare records for 50
                                  2   times the price of a stolen social security or credit card number.9
                                  3         25.    Recognizing the high value that consumers place on their PII/PHI, some
                                  4   companies now offer consumers an opportunity to sell this information to advertisers
                                  5   and other third parties. The idea is to give consumers more power and control over
                                  6   the type of information they share – and who ultimately receives that information. By
                                  7   making the transaction transparent, consumers will make a profit from the surrender
                                  8   of their PII/PHI.10 This business has created a new market for the sale and purchase
                                  9   of this valuable data.11
                                 10         26.    Consumers place a high value not only on their PII/PHI, but also on the
                                 11   privacy of that data. Researchers shed light on how much consumers value their data
                                      privacy – and the amount is considerable. Indeed, studies confirm that “when privacy
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                                 12
                                 13   information is made more salient and accessible, some consumers are willing to pay
                                 14   a premium to purchase from privacy protective websites.”12
                                 15         27.    One study on website privacy determined that U.S. consumers valued
                                 16   the restriction of improper access to their PII between $11.33 and $16.58 per
                                 17
                                 18
                                      9
                                 19          Federal Bureau of Investigation, Health Care Systems and Medical Devices at
                                      Risk for Increased Cyber Intrusions for Financial Gain (April 8, 2014) available at
                                 20   https://www.illuminweb.com/wp-content/uploads/ill-mo-uploads/103/2418/health-
                                 21   systems-cyber-intrusions.pdf.
                                      10
                                 22          Steve Lohr, You Want My Personal Data? Reward Me for It, N.Y. Times (July
                                      16,       2010)        available        at       https://www.nytimes.com/2010/07/18/
                                 23   business/18unboxed.html.
                                 24   11
                                             See Julia Angwin and Emil Steel, Web’s Hot New Commodity: Privacy, Wall
                                      Street Journal (Feb. 28, 2011) available at https://www.wsj.com/articles/
                                 25
                                      SB1000142405274870352900457616076403792027.
                                 26   12
                                             Janice Y. Tsai et al., The Effect of Online Privacy Information on Purchasing
                                 27   Behavior, An Experimental Study Information Systems Research 22(2) 254, 254
                                      (June 2011),      available      at     https://www.jstor.org/stable/23015560?seq=1#
                                 28   page_scan_tab_contents.
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                                   1   website.13
                                   2         28.    Given these facts, any company that transacts business with a consumer
                                   3   and then compromises the privacy of consumers’ PII/PHI has thus deprived that
                                   4   consumer of the full monetary value of the consumer’s transaction with the company.
                                   5           Theft of PII/PHI Has Grave and Lasting Consequences for Victims
                                   6         29.    Theft of PII/PHI is serious. The United States Government
                                   7   Accountability Office noted in a June, 2007 report on Data Breaches (“GAO Report”)
                                   8   that identity thieves use PII to take over existing financial accounts, open new
                                   9   financial accounts, receive government benefits and incur charges and credit in a
                                  10   person’s name.14 As the GAO Report states, this type of identity theft is so harmful
                                  11   because it may take time for the victim to become aware of the theft and can adversely
                                       impact the victim’s credit rating.
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                                  12
                                  13         30.    In addition, the GAO Report states that victims of identity theft will face
                                  14   “substantial costs and inconveniences repairing damage to their credit records … [and
                                  15   their] good name.” According to the FTC, identity theft victims must spend countless
                                  16   hours and large amounts of money repairing the impact to their good name and credit
                                  17   record.15
                                  18         31.    Identity thieves use personal information for a variety of crimes,
                                  19   including credit card fraud, phone or utilities fraud, and bank/finance fraud.16
                                  20
                                       13
                                  21          II–Horn, Hann et al., The Value of Online Information Privacy: An Empirical
                                       Investigation       (Mar.      2003)      at     table      3,      available        at
                                  22
                                       https://ideas.repec.org/p/wpa/wuwpio/0304001.html (emphasis added).
                                  23   14
                                              See http:///www.gao.gov/new.items/d07737.pdf.
                                       15
                                  24          See             FTC             Identity           Theft              Website:
                                       https://www.consumer.ftc.gov/features/feature-0014-identity-theft.
                                  25   16
                                              The FTC defines identity theft as “a fraud committed or attempted using the
                                  26   identifying information of another person without authority.” 16 C.F.R. § 603.2. The
                                  27   FTC describes “identifying information” as “any name or number that may be used,
                                       alone or in conjunction with any other information, to identify a specific person,”
                                  28   including, among other things, “[n]ame, social security number, date of birth, official
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                                   1   According to Experian, “[t]he research shows that personal information is valuable to
                                   2   identity thieves, and if they can get access to it, they will use it” to among other things:
                                   3   open a new credit card or loan; change a billing address so the victim no longer
                                   4   receive bills; open new utilities; obtain a mobile phone; open a bank account and
                                   5   write bad checks; use a debit card number to withdraw funds; obtain a new
                                   6   driver’s license or ID; use the victim’s information in the event of arrest or court
                                   7   action.17
                                   8         32.    Theft of PII is even more serious when it includes theft of PHI. Data
                                   9   breaches involving medical information “typically leave[] a trail of falsified
                                  10   information in medical records that can plague victims’ medical and financial lives
                                  11   for years.”18 It “is also more difficult to detect, taking almost twice as long as normal
                                       identity theft.”19 “A thief may use your name or health insurance numbers to see a
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                                  12
                                  13   doctor, get prescription drugs, file claims with your insurance provider, or get other
                                  14   care. If the thief’s health information is mixed with yours, your treatment, insurance
                                  15   and payment records, and credit report may be affected.”20
                                  16         33.    A report published by the World Privacy Form and presented at the US
                                  17   FTC Workshop on Informational Injury describes what medical identity theft victims
                                  18   may experience:
                                  19
                                  20   State or government issued driver's license or identification number, alien registration
                                  21   number, government passport number, employer or taxpayer identification number.
                                       Id.
                                  22   17
                                              See https://www.experian.com/blogs/ask-experian/what-can-identity-thieves-
                                  23   do-with-your-personal-information-and-how-can-you-protect-yourself/.
                                       18
                                  24          Pam Dixon, et al., The Geography of Medical Identity Theft (Dec. 12, 2017),
                                       https://www.ftc.gov/system/files/documents/public_comments/2018/01/00037-
                                  25   142815.pdf.
                                       19
                                  26          See https://publicintelligence.net/fbi-health-care-cyber-intrusions/ (FBI, April
                                       8, 2014).
                                  27   20
                                              See     Federal     Trade      Commission,        Medical     Identity     Theft,
                                  28   http://www.consumer.ftc.gov/articles/0171-medical-identity-theft.
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                                   1           •   Changes to their health care records, most often the addition of falsified
                                                   information, through improper billing activity or activity by imposters.
                                   2               These changes can affect the healthcare a person receives if the errors are
                                   3               not caught and corrected.
                                   4           •   Significant bills for medical goods and services not sought nor received.
                                               •   Issues with insurance, co-pays, and insurance caps.
                                   5
                                               •   Long-term credit problems based on problems with debt collectors
                                   6               reporting debt due to identity theft.
                                   7           •   Serious life consequences resulting from the crime; for example, victims
                                                   have been falsely accused of being drug users based on falsified entries
                                   8               to their medical files; victims have had their children removed from them
                                   9               due to medical activities of the imposter; victims have been denied jobs
                                                   due to incorrect information placed in their health files due to the crime.
                                  10
                                               •   As a result of improper and/or fraudulent medical debt reporting, victims
                                  11               may not qualify for mortgage or other loans and may experience other
                                                   financial impacts.
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                                  12
                                               •   Phantom medical debt collection based on medical billing or other
                                  13               identity information.
                                  14           •   Sales of medical debt arising from identity theft can perpetuate a victim’s
                                                   debt collection and credit problems, through no fault of their own.
                                  15
                                  16         34.   A person whose PII/PHI has been compromised may not see any signs
                                  17   of identity theft for years. According to the GAO Report:
                                  18         “[L]aw enforcement officials told us that in some cases, stolen data may
                                             be held for up to a year or more before being used to commit identity
                                  19         theft. Further, once stolen data have been sold or posted on the Web,
                                             fraudulent use of that information may continue for years. As a result,
                                  20         studies that attempt to measure the harm resulting from data breaches
                                  21         cannot necessarily rule out all future harm.”

                                  22         35.   For example, in 2012, hackers gained access to LinkedIn’s users’
                                  23   passwords. However, it was not until May 2016, four years after the breach, that
                                  24   hackers released the stolen email and password combinations. 21.
                                  25         36.   It is within this context that Plaintiff and almost 12 million patients
                                  26   must now live with the knowledge that their PII/PHI is forever in cyberspace and
                                  27
                                  28   21
                                             See https://blog.linkedin.com/2016/05/18/protecting-our-members.
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                                   1   was taken by people willing to use the information for any number of improper
                                   2   purposes and scams, including making the information available for sale on the
                                   3   black-market.
                                   4                                     The Data Breach
                                   5         37.      Plaintiff and Class members are customers who paid money for and
                                   6   provided their PII/PHI to Quest Diagnostics in exchange for diagnostic and medical
                                   7   services. Quest Diagnostics provided Plaintiff and Class members’ PII/PHI to
                                   8   Optum360 who in turn provided that information to AMCA for billing and collection
                                   9   purposes.
                                  10         38.      For more than six months, from August 1, 2018 to March 30, 2019,
                                  11   unauthorized parties accessed the AMCA system containing the PII/PHI of nearly 12
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                                  12   million customers of Quest Diagnostics, including Plaintiff and Class members. This
                                  13   information included personal information (e.g., Social Security Numbers), financial
                                  14   information (credit card numbers and bank account information), and medical
                                  15   information.
                                  16                   Defendants Failed to Timely Disclose the Data Breach
                                  17         39.      AMCA claims it was alerted to the breach after receiving information
                                  18   from a security compliance firm that works with credit card companies of a possible
                                  19   security compromise.
                                  20         40.      Upon information and belief that firm was Gemini Advisory. Gemini
                                  21   Advisory’s Director of Research stated that on March 1, 2019, it tried unsuccessfully
                                  22   to notify AMCA of the Data Breach. Not getting any response from AMCA, Gemini
                                  23   contacted federal law enforcement, who reportedly followed up by contacting
                                  24   AMCA.
                                  25         41.      AMCA then waited until May 14, 2019, over two months, to inform
                                  26   Quest Diagnostics and Optum360 of the Data Breach. Quest and Optum360 waited
                                  27   another two weeks to inform Plaintiff and Class members, only doing so through a
                                  28   June 3, 2019 SEC filing.
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                                   1         42.     AMCA has not notified Plaintiff and Class members about the Data
                                   2   Breach. Instead it made the following statement through an outside PR firm: “We are
                                   3   investigating a data incident involving an unauthorized user accessing the American
                                   4   Medical Collection Agency system[.]”
                                   5         43.     Upon information and belief no Defendant has individually noticed any
                                   6   of the almost 12 million Plaintiff and Class Members affected by the Data Breach.
                                   7   Further, no Defendant has offered any form of credit monitoring or other protective
                                   8   measures to help protect Plaintiff and Class members from identity theft and/or
                                   9   medical fraud.
                                  10               The Breached PII/PHI Is Already Being Sold on the Dark Web
                                  11         44.     Defendants’ failure to safeguard Plaintiff and Class members PII/PHI,
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                                  12   failure to timely notify Plaintiff and Class members of the Data Breach, and failure to
                                  13   offer any protective measures to assist Plaintiff and Class members in avoiding
                                  14   identity theft and/or medical fraud has serious consequences.
                                  15         45.     On May 10, 2019, Gemini Advisory confirmed that at the end of
                                  16   February its analysts identified a Card Not Present (CNP) database that had been
                                  17   posted for sale in a dark web market. The offering had been described as
                                  18   “USA|DOB|SSN,” and because CNP data is rarely sold with associated date of birth
                                  19   and Social Security numbers, Gemini Advisory analysts suspected a compromise in
                                  20   an online portal that would collect these types of data as part of a transaction.
                                  21         46.     Through further analysis, Gemini analysts identified several top affected
                                  22   banks that primarily focus on Health Savings Accounts (HSAs), Health
                                  23   Reimbursement Accounts (HRAs), Flexible Spending Accounts (FSAs), and
                                  24   Medicare Medical Savings Accounts (MSAs). These various medical accounts are
                                  25   used to pay health insurance deductibles, dental and vision care, and any other
                                  26   qualifying medical expenses. Analysis revealed the information was likely stolen
                                  27   from the online portal of AMCA.
                                  28
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                                   1         47.    In a statement to DataBreaches.net, Gemini Advisory’s Director of
                                   2   Research, Stas Alforov, explained that: “[o]n February 28, 2019, Gemini Advisory
                                   3   identified a large number of compromised payment cards while monitoring dark web
                                   4   marketplaces. Almost 15% of these records included additional personally
                                   5   identifiable information (PII), such as dates of birth (DOBs), Social Security numbers
                                   6   (SSNs), and physical addresses. A thorough analysis indicated that the information
                                   7   was likely stolen from the online portal of the American Medical Collection Agency
                                   8   (AMCA), one of the largest recovery agencies for patient collections. Several
                                   9   financial institutions also collaboratively confirmed the connection between the
                                  10   compromised payment card data and the breach at AMCA.”
                                  11         48.    Gemini Advisory’s Director of Research explained why this is so
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                                  12   serious:
                                  13         Health Savings Accounts (HSAs) are often tied to specialized debit
                                             cards that are used to make medical-based payments but can also be
                                  14         used for regular purchases at the cost of a severe tax penalty.
                                  15
                                             Account holders often only periodically use HSAs due to the incentives
                                  16         for accumulating funds that can later be withdrawn without any
                                             penalties during retirement, meaning that they are likely not as closely
                                  17         monitored for any daily unauthorized activities. Thus, they make easier
                                  18         targets for criminal actors who attempt to monetize the compromised
                                             data from medical breaches such as AMCA’s.
                                  19
                                             We are often encouraged to — and many of us do — routinely and
                                  20         regularly check our bank statements for unusual activity or check our
                                  21         credit card statements for signs of misuse. But if you have an account
                                             linked to a debit or credit card that you do not use except for paying
                                  22         medical bills in an emergency or it is your savings account for your
                                  23         future care, then criminals could be draining your account and you may
                                             not find out in time to report the theft to your bank. And without timely
                                  24         reporting, your bank might not restore your funds or cover your losses.22
                                  25
                                  26   22
                                              DataBreaches.net, American Medical Collection Agency breach impacted
                                  27   200,000 patients – Gemini Advisory (May 10, 2019), available at
                                       https://www.databreaches.net/american-medical-collection-agency-breach-
                                  28   impacted-200000-patients-gemini-advisory/.
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                                   1         Defendants Promised to Protect Plaintiff and Class Members’ PII/PHI
                                   2         49.    Quest Diagnostics promised to maintain the security and privacy of
                                   3   Plaintiff’s and Class members’ personal information. In its Notice of Privacy
                                   4   Practices, Quest Diagnostics promised its customers that it was “committed to
                                   5   protecting the privacy of your identifiable health information.”
                                   6         50.    Quest Diagnostics also acknowledges the following:
                                   7         Quest Diagnostics is required by law to maintain the privacy of your
                                   8         PHI. We are also required to provide you with this Notice of our legal
                                             duties and privacy practices upon request. It describes our legal duties,
                                   9         privacy practices and your patient rights as determined by the Health
                                  10         Insurance Portability and Accountability Act of 1996 (HIPAA). We are
                                             required to follow the terms of this Notice currently in effect. We are
                                  11         required to notify affected individuals in the event of a breach involving
                                             unsecured protected health information. PHI is stored electronically
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                                  12
                                             and is subject to electronic disclosure. This Notice does not apply to
                                  13         non-diagnostic services that we perform such as certain drugs of abuse
                                  14         testing services and clinical trials testing services.
                                  15         51.    Quest Diagnostics also ensures its customers that it will only use their
                                  16   PII/PHI for certain limited purposes, such as “for treatment, payment, or healthcare
                                  17   operations purposes and for other purposes permitted or required by law.” Quest
                                  18   Diagnostics states:
                                  19
                                             We need your written authorization to use or disclose your health
                                  20         information for any purpose not covered by one of the categories below.
                                             Subject to compliance with limited exceptions, we will not use or
                                  21         disclose psychotherapy notes, use or disclose your PHI for marketing
                                             purposes or sell your PHI, unless you have signed an authorization. You
                                  22         may revoke any authorization you sign at any time. If you revoke your
                                  23         authorization, we will no longer use or disclose your health information
                                             for the reasons stated in your authorization except to the extent we have
                                  24         already taken action based on your authorization.
                                  25         52.    While Plaintiff and Class members were likely unaware that Quest
                                  26   Diagnostics had shared their PII/PHI with AMCA or Optum360 these companies
                                  27   provided similar assurances of data security.
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                                   1         53.    Optum360 claims that “[p]rotecting our consumer and customer
                                   2   information is very important. We safeguard the information of those we serve.
                                   3   Optum handles and safeguards personal information, and we understand the
                                   4   information we hold represents real people and life events.” It also promises that
                                   5   “Optum Privacy is dedicated to the responsible and compliant collection, use,
                                   6   maintenance and disclosure of information for the individuals and customers we
                                   7   serve. The Optum Privacy Program is designed to protect information and to comply
                                   8   with applicable privacy rules and regulations.”
                                   9         54.    With respect to Social Security Numbers Optum360 promises customers
                                  10   that it will “secure the confidentiality of SSNs through various means, including
                                  11   physical, technical, and administrative safeguards that are designed to protect against
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                                  12   unauthorized access. It is our policy to limit access to SSNs to that which is lawful,
                                  13   and to prohibit unlawful disclosure of SSNs.”
                                  14         55.    AMCA tells customers it is “compliant with all Federal and State Laws.”
                                  15   In a statement issued after the Data Breach, AMCA commented that it “remain[s]
                                  16   committed to our system’s security, data privacy, and the protection of personal
                                  17   information.”
                                  18         56.    By failing to protect Plaintiff and Class member’s PII/PHI, and by
                                  19   allowing the Data Breach to occur, Defendants broke their privacy promises.
                                  20         57.    To date, Defendants have not yet provided a Notice of Data Breach and
                                  21   have not adequately explained how the Data Breach occurred and why it took a third
                                  22   party to inform it of the Data Breach.
                                  23               Defendants Were Legally Obligated to Protect Patients’ PHI
                                  24         58.    Quest Diagnostics recognizes that it “is required by law to maintain the
                                  25   privacy of [] [patient] PHI.” Those laws include but are not limited to the Health
                                  26   Insurance Portability and Accountability Act of 1996 (“HIPAA”), California’s
                                  27   Confidentiality of Medical Information Act, Cal. Civ. Code §§ 56, et seq., and
                                  28
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                                   1   California’s Customer Records Act (“CRA”), Cal. Civ. Code §§ 1798.80, et seq.,
                                   2   among others.
                                   3         59.    As a healthcare provider, Defendants are subject to the HIPAA Privacy
                                   4   Rule (“Standards for Privacy of Individually Identifiable Health Information”), 45
                                   5   C.F.R. Part 160 and Part 164, Subparts A and E, and the HIPAA Security Rule
                                   6   (“Security Standards for the Protection of Electronic Protected Health Information”),
                                   7   45 C.F.R. Part 160 and Part 164, Subparts A and C (collectively, “Privacy and
                                   8   Security Rules”).
                                   9         60.    The HIPAA Privacy and Security Rules establish a national set of
                                  10   standards for the protection of “individually identifiable health information” that is
                                  11   held or transmitted by a health care provider, which HIPAA refers to as “protected
                                       health information.” Pursuant to HIPAA, Defendants must maintain (and review and
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                                  12
                                  13   modify as needed) reasonable and appropriate administrative, technical, and physical
                                  14   standards and safeguards for protecting PHI (e.g., 45 C.F.R. §§ 164.306(a), (e);
                                  15   164.312(a), (d), (e); 164.316(a), (b).) Under the HIPAA Privacy Rule, Defendants
                                  16   may not use or disclose PHI or confidential medical information except as expressly
                                  17   permitted, 45 CFR 164.502(a).
                                  18         61.    Under HIPAA Defendants must implement processes and specifications
                                  19   that would detect a breach of its security systems in a timely manner and to timely act
                                  20   upon warnings and alerts, including those generated by its own security systems (e.g.,
                                  21   45 CFR §§ 164.308(a), 164.306(d), 164.312).23
                                  22         62.    California’s Confidentiality of Medical Information Act prohibits
                                  23   healthcare providers and contractors from disclosing a patient’s confidential medical
                                  24   information without prior authorization. Cal. Civ. Code § 56.10(a). The CMIA states
                                  25
                                  26   23
                                              See Office for Civil Rights, Guidance on Risk Analysis Requirements under the
                                  27   HIPAA        Security       Rule      (July     14,      2010)      available       at
                                       https://www.hhs.gov/sites/default/files/ocr/privacy/hipaa/administrative/securityrule
                                  28   /rafinalguidancepdf.pdf.
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                                   1   that “a provider of health care, health care service plan, or contractor shall not disclose
                                   2   medical information regarding a patient of the provider of health care or enrollee or
                                   3   subscriber of a health care service plan without first obtaining an authorization except
                                   4   as provided in subdivision (b) or (c).”
                                   5         63.    California’s Customer Records Act requires a business to notify without
                                   6   unreasonable delay any California resident whose unencrypted personal information,
                                   7   including health data, personal identifiers, credit cards, insurance details, and other
                                   8   personal information, was acquired, or reasonably believed to have been acquired, by
                                   9   an unauthorized person. Cal. Civ. Code § 1798.82(a).
                                  10         64.    In addition to their obligations under federal and state laws and
                                  11   regulations, Defendants owed a common law duty to Plaintiff and Class members to
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                                  12   protect PII/PHI entrusted to it, including to exercise reasonable care in obtaining,
                                  13   retaining, securing, safeguarding, deleting, and protecting the PII/PHI in their
                                  14   possession from being compromised, lost, stolen, accessed, and misused by
                                  15   unauthorized parties.
                                  16         65.    As a direct and proximate result of Defendants’ reckless and negligent
                                  17   actions, inaction, and omissions, the resulting Data Breach, the unauthorized release
                                  18   and disclosure of Plaintiff’s and Class members’ PII/PHI, and Defendants’ failure to
                                  19   properly and timely notify Plaintiff and Class members, Plaintiff and Class members
                                  20   have experienced, will continue to experience, and will face an increased risk of
                                  21   identity and medical theft and fraud and/or other unauthorized uses of personal
                                  22   information for which they have expended and/or will expend substantial money and
                                  23   time to prevent, detect, contest, and repair.
                                  24       Defendants Knew or Should Have Known PII/PHI Are High Risk Targets
                                  25         66.    Defendants knew or should have known that PII, and in particular, PHI,
                                  26   are high risk targets for identity thieves. In 2014, the FBI informed that “[c]yber actors
                                  27   will likely increase cyber intrusions against healthcare systems” and warned that the
                                  28
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                                   1   “healthcare industry is not technically prepared to combat against cyber criminals’
                                   2   basic cyber intrusion tactics, techniques and procedures[.]”24
                                   3         67.    The Identity Theft Resource Center reported that the Medical/Healthcare
                                   4   sector had the second largest number of breaches in 2018 and the highest rate of
                                   5   exposure per breach. According to the ITRC this sector suffered 363 data breaches
                                   6   exposing over 9 million records in 2018.25 These included Blue Cross Blue Shield of
                                   7   Michigan (15K records exposed), Atrium Health (over 2M records exposed),
                                   8   UnityPoint Health (over 1M records), LifeBridge Health (over 500K), FastHealth
                                   9   Corporation (over 600K records), among others.
                                  10         68.    As such, Defendants were aware that PHI is at high risk of theft, and
                                  11   consequently should have but did not take appropriate and standard measures to
                                       protect Plaintiff’s and Class member’s PII/PHI against cyber-security attacks that
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                                  12
                                  13   Defendants should have anticipated and guarded against.
                                  14                     CLASS DEFINITION AND ALLEGATIONS
                                  15         69.    Plaintiff brings all claims as class claims under Federal Rule of Civil
                                  16   Procedure 23(b)(1), (b)(2), (b)(3), and (c)(4).
                                  17         70.    Plaintiff brings all claims on behalf of a proposed Nationwide Class and
                                  18   California Sub-Class, defined as follows:
                                  19         Nationwide Class: All persons in the United States whose PII/PHI was
                                             accessed by and disclosed to unauthorized persons in the Data Breach.
                                  20
                                             California Sub-Class: All persons in the State of California whose
                                  21         PII/PHI was accessed by and disclosed to unauthorized persons in the
                                  22         Data Breach.
                                  23
                                  24
                                  25   24
                                             See https://publicintelligence.net/fbi-health-care-cyber-intrusions/ (FBI, April
                                  26   8, 2014).
                                       25
                                  27         Identity Theft Resource Center, 2018 End-of-Year Data Breach Report,
                                       available at https://www.idtheftcenter.org/wp-content/uploads/2019/02/ITRC_2018-
                                  28   End-of-Year-Aftermath_FINAL_V2_combinedWEB.pdf.
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                                   1         71.    Excluded from the above Class are Defendants, any entity in which
                                   2   Defendants have a controlling interest or that have a controlling interest in
                                   3   Defendants, and Defendants’ legal representatives, assignees, and successors. Also
                                   4   excluded are the Judge to whom this case is assigned and any member of the Judge’s
                                   5   immediate family.
                                   6         72.    Numerosity. While the exact number of Class and Sub-Class members
                                   7   is unknown, Defendants have admitted the PII/PHI, including personal information
                                   8   (e.g., Social Security Numbers), financial information (credit card numbers and bank
                                   9   account information), and medical information of nearly 12 million Plaintiff and Class
                                  10   members was compromised in the Data Breach. Plaintiff therefore believes that the
                                  11   Classes are so numerous that joinder of all members is impractical.
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                                  12         73.    Typicality. Plaintiff’s claims are typical of the claims of the Class and
                                  13   Sub-Class. Plaintiff, like all proposed members of each Class, had his PII/PHI
                                  14   compromised in the Data Breach. Plaintiff and members of each Class were injured
                                  15   by the same wrongful acts, practices, and omissions committed by Defendants, as
                                  16   described herein. Plaintiff’s claims therefore arise from the same practices or course
                                  17   of conduct that give rise to the claims of all Class and Sub-Class members.
                                  18         74.    Commonality. Common questions of law and fact exist as to all Class
                                  19   and Sub-Class members and predominate over any individual questions. Such
                                  20   common questions include, but are not limited to:
                                  21                (a)    Whether Defendants engaged in the alleged wrongful, unlawful,
                                  22   unfair or fraudulent business acts or practices;
                                  23                (b)    Whether Defendants owed a duty to Plaintiff and each Class and
                                  24   Sub-Class member to adequately protect their PII/PHI;
                                  25                (c)    Whether Defendants breached their duties to protect the PII/PHI
                                  26   of Plaintiff and each Class and Sub-Class member;
                                  27                (d)    Whether Defendants knew or should have known that AMCA’s
                                  28   data security systems, policies, procedures, and practices were vulnerable;
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                                   1                (e)    Whether Plaintiff and each Class and Sub-Class member suffered
                                   2   legally cognizable damages as a result of Defendants’ conduct, including increased
                                   3   risk of identity/medical theft and fraud, and loss of value of PII/PHI;
                                   4                (f)    Whether Defendants’ conduct violated the laws alleged;
                                   5                (g)    Whether Plaintiff and each Class and Sub-Class member are
                                   6   entitled to restitution, disgorgement, and other equitable relief; and
                                   7                (h)    Whether Plaintiff and each Class and Sub-Class member are
                                   8   entitled to recover actual damages, statutory damages, and punitive damages.
                                   9         75.    Adequacy. Plaintiff will fairly and adequately protect the interests of the
                                  10   Class and Sub-Class members. Plaintiff is an adequate representative of the Class
                                  11   and Sub-Class in that he has no interests adverse to or that conflict with the Classes
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                                  12   Plaintiff seeks to represent. Plaintiff has retained counsel with substantial experience
                                  13   and success in the prosecution of complex consumer protection class actions of this
                                  14   nature.
                                  15         76.    Superiority. A class action is superior to any other available method for
                                  16   the fair and efficient adjudication of this controversy since individual joinder of all
                                  17   Class and Sub-Class members is impractical. Furthermore, the expenses and burden
                                  18   of individual litigation would make it difficult or impossible for the individual
                                  19   members of the Class and Sub-Class to redress the wrongs done to them, especially
                                  20   given that the damages or injuries suffered by each individual member of the Class
                                  21   and Sub-Class may be relatively small. Even if the Class and Sub-Class members
                                  22   could afford individualized litigation, the cost to the court system would be substantial
                                  23   and individual actions would also present the potential for inconsistent or
                                  24   contradictory judgments. By contrast, a class action presents fewer management
                                  25   difficulties and provides the benefits of single adjudication and comprehensive
                                  26   supervision by a single court.
                                  27   ///
                                  28
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                                   1                              FIRST CAUSE OF ACTION
                                   2        Violation of the California Confidentiality of Medical Information Act
                                   3                               (Civil Code §§ 56, et seq.)

                                   4         (Plaintiff and All Classes Against Quest Diagnostics and Optum360)
                                   5         77.    Plaintiff re-alleges and incorporates by reference all paragraphs as if
                                   6   fully set forth herein.
                                   7         78.    Section 56.10(a) of the California Civil Code provides that “[a] provider
                                   8   of health care, health care service plan, or contractor shall not disclose medical
                                   9   information regarding a patient of the provider of health care or an enrollee or
                                  10   subscriber of a health care service plan without first obtaining an authorization[.]”
                                  11         79.    Quest Diagnostics and Optum360 are “contractor[s]” within the meaning
                                       of Civil Code § 56.05(d) and/or “provider[s] of health care” within the meaning of
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                                  12
                                  13   Civil Code § 56.06 and maintained and continue to maintain “medical information,”
                                  14   within the meaning of Civil Code § 56.05(j), for “patients” of Defendants, within the
                                  15   meaning of Civil Code § 56.05(k).
                                  16         80.    Plaintiff and all members of the Classes are “patients” of Defendants
                                  17   within the meaning of Civil Code § 56.05(k) and are “endanger[ed]” within the
                                  18   meaning of Civil Code § 56.05(e) because Plaintiff and the Classes fear that
                                  19   disclosure of their medical information could subject them to harassment or abuse.
                                  20         81.    Plaintiff and members of the Classes, as patients of Defendants, had their
                                  21   individually identifiable “medical information,” within the meaning of Civil Code
                                  22   § 56.05(j), created, maintained, preserved, and stored on Defendants’ computer
                                  23   network at the time of the breach.
                                  24         82.    Defendants, through inadequate security, allowed an unauthorized third
                                  25   party to gain access to Plaintiff’s and each Class members’ medical information,
                                  26   without the prior written authorization of Plaintiff and the Classes, as required by
                                  27   Civil Code § 56.10 of the CMIA.
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                                   1         83.    Defendants violated Civil Code § 56.101 of the CMIA through their
                                   2   failure to maintain and preserve the confidentiality of the medical information of
                                   3   Plaintiff and the Classes.
                                   4         84.    As a result of Defendants’ above-described conduct, Plaintiff and the
                                   5   Classes have suffered damages from the unauthorized release of their individual
                                   6   identifiable “medical information” made unlawful by Civil Code §§ 56.10, 56.101.
                                   7         85.    As a direct and proximate result of Defendants’ above-described
                                   8   wrongful actions, inaction, omissions, and want of ordinary care that directly and
                                   9   proximately caused the Data Breach, and violation of the CMIA, Plaintiff and
                                  10   members of each Class have suffered (and will continue to suffer) economic damages
                                  11   and other injury and actual harm in the form of, inter alia, (i) an imminent, immediate
                                       and the continuing increased risk of identity theft, identity fraud and medical fraud –
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                                  12
                                  13   risks justifying expenditures for protective and remedial services for which they are
                                  14   entitled to compensation, (ii) invasion of privacy, (iii) breach of the confidentiality of
                                  15   their PII/PHI, (iv) statutory damages under the California CMIA and CRA,
                                  16   (v) deprivation of the value of their PII/PHI, for which there is a well-established
                                  17   national and international market, and/or (vi) the financial and temporal cost of
                                  18   monitoring their credit, monitoring their financial accounts, and mitigating their
                                  19   damages.
                                  20         86.    Plaintiff, individually and for each member of the Classes, seeks nominal
                                  21   damages of one thousand dollars ($1,000) for each violation under Civil Code
                                  22   § 56.36(b)(1), and actual damages suffered, if any, pursuant to Civil Code
                                  23   § 56.36(b)(2), injunctive relief, as well as punitive damages of up to $3,000 per
                                  24   Plaintiff and each Class member, and attorneys’ fees, litigation expenses and court
                                  25   costs, pursuant to Civil Code § 56.35.
                                  26   ///
                                  27   ///
                                  28   ///
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                                   1                             SECOND CAUSE OF ACTION
                                   2                   Violation of the California Customer Records Act
                                   3                           (Cal. Civ. Code §§ 1798.80, et seq.)

                                   4               (Plaintiff and California Sub-Class Against All Defendants)
                                   5         87.    Plaintiff re-alleges and incorporates by reference all paragraphs as if
                                   6   fully set forth herein.
                                   7         88.    “[T]o ensure that personal information about California residents is
                                   8   protected,” the California Legislature enacted the Customer Records Act, Civil
                                   9   Code § 1798.81.5, which requires that any business that “owns licenses, or
                                  10   maintains personal information about a California resident shall implement and
                                  11   maintain reasonable security procedures and practices appropriate to the nature of
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                                  12   the information, to protect the personal information from unauthorized access,
                                  13   destruction, use, modification, or disclosure.”
                                  14         89.    Defendants are “businesses” within the meaning of Civil Code
                                  15   § 1798.80(a).
                                  16         90.    The information Defendants “own” or “license” or “maintain” is the
                                  17   kind defined by Civil Code § 1798.81.5(a)(2).
                                  18         91.    As described above, Defendants failed to implement and maintain
                                  19   reasonable security procedures and practices to protect the Plaintiff’s and California
                                  20   Sub-Class members’ “personal information” as that term is defined in Civil Code
                                  21   § 1798.80(e) and § 1798.81.5(d), which resulted in the Data Breach.
                                  22         92.    Defendants also unreasonably delayed and failed to disclose the Data
                                  23   Breach to Plaintiff and California Sub-Class members in the most expedient time
                                  24   possible and without unreasonable delay when they knew, or reasonably believed,
                                  25   Plaintiff’s and California Sub-Class members’ personal information had been
                                  26   wrongfully disclosed to an unauthorized person or persons.
                                  27         93.    Under California Civil Code § 1798.82, any person or business that
                                  28   “owns or licenses computerized data that includes personal information” of California
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                                   1   residents must promptly and “in the most expedient time possible and without
                                   2   unreasonable delay” disclose any Data Breach involving such retained data.
                                   3         94.   As a result of Defendants’ violations of Civil Code §§ 1798.81.5 and
                                   4   1798.82, Plaintiff and members of the California Sub-Class have incurred and
                                   5   will incur damages, including but not necessarily limited to: (1) the loss of the
                                   6   opportunity to control how their personal information (PII/PHI) is used; (2) the
                                   7   compromise, publication, and/or theft of their personal information; (3) out-of-
                                   8   pocket costs associated with the prevention, detection, insurance, and recovery
                                   9   from identity and medical theft and fraud, and unauthorized use of financial and
                                  10   medical accounts; (4) lost opportunity costs associated with effort expended and
                                  11   the loss of productivity from addressing and attempting to mitigate the actual and
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                                  12   future consequences of the Data Breach, including but not limited to efforts spent
                                  13   researching how to prevent, detect, contest and recover from identity and medical
                                  14   fraud and data misuse; (5) costs associated with the ability to use credit and assets
                                  15   frozen or flagged due to credit misuse, including complete credit denial and/or
                                  16   increased costs to use credit, credit scores, credit reports and assets;
                                  17   (6) unauthorized use of compromised personal information to open new financial
                                  18   and/or health care or medical accounts; (7) tax fraud and/or other unauthorized
                                  19   charges to financial, health care or medical accounts and associated lack of access
                                  20   to funds while proper information is confirmed and corrected; (8) the continued
                                  21   risk to their personal information, which remain in Defendants’ possession and
                                  22   are subject to further breaches so long as Defendants fail to undertake appropriate
                                  23   and adequate measures to protect the personal information in their possession;
                                  24   and (9) future costs in terms of time, effort and money that will be expended, to
                                  25   prevent, detect, contest, and repair the impact of the personal information
                                  26   compromised as a result of the Data Breach for the remainder of the lives of
                                  27   Plaintiff and the California Sub-Class members.
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                                   1           95.   Plaintiff seeks all remedies available under Civil Code § 1798.84,
                                   2   including actual and statutory damages, equitable relief, and reasonable attorneys’
                                   3   fees.
                                   4           96.   Plaintiff is also entitled to injunctive relief under Civil Code
                                   5   § 1798.84(e).
                                   6                              THIRD CAUSE OF ACTION
                                   7                   Violation of the California Unfair Competition Law
                                   8                        (Cal. Bus. & Prof. Code §§ 17200, et seq.)

                                   9                    (Plaintiff and All Classes Against All Defendants)
                                  10           97.   Plaintiff re-alleges and incorporates by reference all paragraphs as if
                                  11   fully set forth herein.
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                                  12           98.   The California Unfair Competition Law, Bus. & Prof. Code §§ 17200, et
                                  13   seq., prohibits any “unlawful,” “fraudulent” or “unfair” business act or practice and
                                  14   any false or misleading advertising, as those terms are defined by the UCL and
                                  15   relevant case law. By virtue of their above-described wrongful actions, inaction,
                                  16   omissions, and want of ordinary care that directly and proximately caused the Data
                                  17   Breach, Defendants engaged in unlawful, unfair and fraudulent practices within the
                                  18   meaning, and in violation of, the UCL.
                                  19           99.   In the course of conducting their businesses, Defendants committed
                                  20   “unlawful” business practices by, inter alia, knowingly failing to design, adopt,
                                  21   implement, control, direct, oversee, manage, monitor and audit appropriate data
                                  22   security processes, controls, policies, procedures, protocols, and software and
                                  23   hardware systems to safeguard and protect Plaintiff’s and Class members’ PII/PHI,
                                  24   and violating the statutory and common law alleged herein in the process, including,
                                  25   inter alia, California’s Confidentiality of Medical Information Act (Civ. Code §§ 56,
                                  26   et seq.), California’s Customer Records Act (Civ. Code §§ 1798.80, et seq.),
                                  27   California’s Insurance Information and Privacy Protection Act (Cal. Ins. Code §§ 791,
                                  28   et seq.), HIPAA (42 U.S.C. §§ 1302d, et seq.), the Gramm-Leach-Bliley Act (15
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                                   1   U.S.C. §§ 6801, et seq.), and Article I, Section 1 of the California Constitution
                                   2   (California’s constitutional right to privacy). Plaintiff and Class members reserve the
                                   3   right to allege other violations of law by Defendants constituting other unlawful
                                   4   business acts or practices. Defendants’ above-described wrongful actions, inaction,
                                   5   omissions, and want of ordinary care are ongoing and continue to this date.
                                   6         100. Defendants also violated the UCL by failing to timely notify Plaintiff
                                   7   and Class members regarding the unauthorized release and disclosure of their PII/PHI.
                                   8   If Plaintiff and Class members had been notified in an appropriate fashion, they could
                                   9   have taken precautions to safeguard and protect their PII/PHI, medical information,
                                  10   and identities.
                                  11         101. Defendants’ above-described wrongful actions, inaction, omissions,
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                                  12   want of ordinary care, misrepresentations, practices, and non-disclosures also
                                  13   constitute “unfair” business acts and practices in violation of the UCL in that
                                  14   Defendants’ wrongful conduct is substantially injurious to consumers, offends
                                  15   legislatively-declared public policy, and is immoral, unethical, oppressive, and
                                  16   unscrupulous. Defendants’ practices are also contrary to legislatively declared and
                                  17   public policies that seek to protect PII/PHI and ensure that entities who solicit or are
                                  18   entrusted with personal data utilize appropriate security measures, as reflected by laws
                                  19   such as California’s Confidentiality of Medical Information Act (Civ. Code § §56, et
                                  20   seq.), California’s Customer Records Act (Civ. Code §§ 1798.80, et seq.),
                                  21   California’s Insurance Information and Privacy Protection Act (Cal. Ins. Code §§ 791,
                                  22   et seq.), HIPAA (42 U.S.C. §§ 1302d, et seq.), the Gramm-Leach-Bliley Act (15
                                  23   U.S.C. §§ 6801, et seq.), and Article I, Section 1 of the California Constitution
                                  24   (California’s constitutional right to privacy). The gravity of Defendants’ wrongful
                                  25   conduct outweighs any alleged benefits attributable to such conduct. There were
                                  26   reasonably available alternatives to further Defendants’ legitimate business interests
                                  27   other than engaging in the above-described wrongful conduct.
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                                   1         102. The UCL also prohibits any “fraudulent business act or practice.”
                                   2   Defendants’ above-described claims, nondisclosures and misleading statements were
                                   3   false, misleading and likely to deceive the consuming public in violation of the UCL.
                                   4         103. As a direct and proximate result of Defendants’ above-described
                                   5   wrongful actions, inaction, omissions, and want of ordinary care that directly and
                                   6   proximately caused the Data Breach and their violations of the UCL, Plaintiff and
                                   7   Class members have suffered (and will continue to suffer) economic damages and
                                   8   other injury and actual harm in the form of, inter alia, (i) an imminent, immediate and
                                   9   the continuing increased risk of identity and medical theft and identity and medical
                                  10   fraud – risks justifying expenditures for protective and remedial services for which
                                  11   they are entitled to compensation, (ii) invasion of privacy, (iii) breach of the
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                                  12   confidentiality of their PII/PHI, (iv) statutory damages under the California CMIA
                                  13   and CRA, (v) deprivation of the value of their PII/PHI, for which there is a well-
                                  14   established national and international market, and/or (vi) the financial and temporal
                                  15   cost of monitoring their credit, monitoring financial accounts, and mitigating
                                  16   damages.
                                  17         104. Unless restrained and enjoined, Defendants will continue to engage in
                                  18   the above-described wrongful conduct and more data breaches will occur. Plaintiff,
                                  19   therefore, on behalf of himself, Class members, and the general public, also seeks
                                  20   restitution and an injunction prohibiting Defendants from continuing such wrongful
                                  21   conduct, and requiring Defendants to modify their corporate culture and design,
                                  22   adopt, implement, control, direct, oversee, manage, monitor and audit appropriate
                                  23   data security processes, controls, policies, procedures protocols, and software and
                                  24   hardware systems to safeguard and protect the PII/PHI entrusted to them, as well as
                                  25   all other relief the Court deems appropriate, consistent with Bus. & Prof. Code
                                  26   § 17203.
                                  27   ///
                                  28   ///
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                                   1                             FOURTH CAUSE OF ACTION
                                   2                                        Negligence
                                   3                   (Plaintiff and All Classes Against All Defendants)
                                   4         105. Plaintiff re-alleges and incorporates by reference all paragraphs as if
                                   5   fully set forth herein.
                                   6         106. Defendants had (and continue to have) a duty to Plaintiff and Class
                                   7   members to exercise reasonable care in safeguarding and protecting their PII/PHI.
                                   8         107. Defendants also had (and continue to have) a duty to use ordinary care
                                   9   in activities from which harm might be reasonably anticipated (such as in the storage
                                  10   and protection of private, non-public PII/PHI within their possession, custody and
                                  11   control). Such affirmative duties also are expressly imposed upon Defendants from
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                                  12   other sources enumerated herein.
                                  13         108. Defendants’ duties arise from, inter alia, California’s Confidentiality of
                                  14   Medical Information Act (Civ. Code §§ 56, et seq.), California’s Customer Records
                                  15   Act (Civ. Code §§ 1798.80, et seq.), California’s Insurance Information and Privacy
                                  16   Protection Act (Cal. Ins. Code §§ 791, et seq.), HIPAA (42 U.S.C. §§ 1302d, et seq.),
                                  17   the Gramm-Leach-Bliley Act (15 U.S.C. §§ 6801, et seq.), Article I, Section 1 of the
                                  18   California Constitution (California’s constitutional right to privacy), and the UCL,
                                  19   (Cal. Bus. & Prof. Code §§ 17200, et seq.).
                                  20         109. The above-outlined standards and duties exist for the express purpose of
                                  21   protecting Plaintiff, Class members and their PII/PHI.
                                  22         110. Defendants violated these standards and duties by failing to exercise
                                  23   reasonable care in safeguarding and protecting Plaintiff’s and Class members’
                                  24   PII/PHI by failing to design, adopt, implement, control, direct, oversee, manage,
                                  25   monitor, and audit appropriate data security processes, controls, policies, procedures,
                                  26   protocols, and software and hardware systems to safeguard and protect PII/PHI
                                  27   entrusted to it – including Plaintiff’s and Class members’ PII/PHI.
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                                   1         111. It was reasonably foreseeable to Defendants that their failure to exercise
                                   2   reasonable care in safeguarding and protecting Plaintiff’s and Class members’
                                   3   PII/PHI by failing to design, adopt, implement, control, direct, oversee, manage,
                                   4   monitor, and audit appropriate data security processes, controls, policies, procedures,
                                   5   protocols, and software and hardware systems would result in the unauthorized
                                   6   release, disclosure, and dissemination of Plaintiff’s and Class members’ PII/PHI for
                                   7   no lawful purpose.
                                   8         112. Defendants, by and through their above negligent or grossly negligent
                                   9   actions, inaction, omissions, and want of ordinary care, unlawfully breached their
                                  10   duties to Plaintiff and Class members by, among other things, failing to exercise
                                  11   reasonable care in safeguarding and protecting Plaintiff’s and Class members’
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                                  12   PII/PHI within their possession, custody and control. Defendants, by and through their
                                  13   above negligent or grossly actions, inactions, omissions, and want of ordinary care,
                                  14   further breached their duties to Plaintiff and Class members by failing to design,
                                  15   adopt, implement, control, direct, oversee, manage, monitor and audit their processes,
                                  16   controls, policies, procedures, protocols, and software and hardware systems for
                                  17   complying with the applicable laws and safeguarding and protecting their PII/PHI.
                                  18         113. But for Defendants’ negligent or grossly negligent breach of the above-
                                  19   described duties owed to Plaintiff and Class members, their PII/PHI would not have
                                  20   been released, disclosed, and disseminated – without their authorization – and
                                  21   compromised.
                                  22         114. Plaintiff’s and Class members’ PII/PHI was transferred, sold, opened,
                                  23   viewed, mined and otherwise released, disclosed, and disseminated to unauthorized
                                  24   persons without their authorization as the direct and proximate result of Defendants’
                                  25   failure to design, adopt, implement, control, direct, oversee, manage, monitor and
                                  26   audit their processes, controls, policies, procedures and protocols for complying with
                                  27   the applicable laws and safeguarding and protecting Plaintiff’s and Class members’
                                  28   PII/PHI.
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                                   1         115. Defendants’ above-described wrongful actions, inaction, omissions, and
                                   2   want of ordinary care that directly and proximately caused the Data Breach constitute
                                   3   negligence, gross negligence, and negligence per se under California common law.
                                   4         116. As a direct and proximate result of Defendants’ above-described
                                   5   wrongful actions, inaction, omissions, and want of ordinary care that directly and
                                   6   proximately caused the Data Breach, Plaintiff and Class members have suffered (and
                                   7   will continue to suffer) economic damages and other injury and actual harm in the
                                   8   form of, inter alia, (i) an imminent, immediate and the continuing increased risk of
                                   9   identity and medical theft, and identity and medical fraud – risks justifying
                                  10   expenditures for protective and remedial services for which they are entitled to
                                  11   compensation, (ii) invasion of privacy, (iii) breach of the confidentiality of their
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                                  12   PII/PHI, (iv) statutory damages under the California CMIA and CRA, (v) deprivation
                                  13   of the value of their PII/PHI, for which there is a well-established national and
                                  14   international market, and/or (vi) the financial and temporal cost of monitoring their
                                  15   credit, monitoring financial accounts, and mitigating damages.
                                  16                             FIFTH CAUSE OF ACTION
                                  17                                   Invasion of Privacy
                                  18                   (Plaintiff and All Classes Against All Defendants)
                                  19         117. Plaintiff re-alleges and incorporates by reference all paragraphs as if
                                  20   fully set forth herein.
                                  21         118. Plaintiff and Class members have a legally protected privacy interest
                                  22   in their PII/PHI that Defendants required them to provide and allow them to store.
                                  23         119. Plaintiff and Class members reasonably expected that their PII/PHI
                                  24   would be protected and secured from unauthorized parties, would not be disclosed
                                  25   to any unauthorized parties or disclosed for any improper purpose.
                                  26         120. Defendants unlawfully invaded the privacy rights of Plaintiff and
                                  27   Class members by (a) failing to adequately secure their PII/PHI from disclosure
                                  28   to unauthorized parties for improper purposes; (b) disclosing their PII/PHI to
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                                   1   unauthorized parties in a manner that is highly offensive to a reasonable person;
                                   2   and (c) disclosing their PII/PHI to unauthorized parties without the informed and
                                   3   clear consent of Plaintiff and Class members. This invasion into the privacy
                                   4   interest of Plaintiff and Class members is serious and substantial.
                                   5         121. In failing to adequately secure Plaintiff’s and Class members’
                                   6   PII/PHI, Defendants acted in reckless disregard of their privacy rights.
                                   7   Defendants knew or should have known that their substandard data security
                                   8   measures are highly offensive to a reasonable person in the same position as
                                   9   Plaintiff and Class members.
                                  10         122. Defendants violated Plaintiff’s and Class members’ right to privacy
                                  11   under the common law as well as under state and federal law, including, but not
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                                  12   limited to, the California Constitution, Article I, Section I.
                                  13         123. As a direct and proximate result of Defendants’ unlawful invasions
                                  14   of privacy, Plaintiff’s and Class members’ PII/PHI has been viewed or is at
                                  15   imminent risk of being viewed, and their reasonable expectations of privacy have
                                  16   been intruded upon and frustrated. Plaintiff and the proposed Class have suffered
                                  17   injury as a result of Defendants’ unlawful invasions of privacy and are entitled to
                                  18   appropriate relief.
                                  19                              SIXTH CAUSE OF ACTION
                                  20                                   Breach of Contract
                                  21                  (Plaintiff and All Classes Against Quest Diagnostics)
                                  22         124. Plaintiff re-alleges and incorporates by reference all paragraphs as if
                                  23   fully set forth herein.
                                  24         125. Plaintiff and Class members, upon information and belief entered into
                                  25   express contracts with Quest Diagnostics that included Defendant’s promise to
                                  26   protect nonpublic personal information given to Defendant or that Defendant
                                  27   gathered on its own, from disclosure.
                                  28
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                                   1         126. Plaintiff and Class members performed their obligations under the
                                   2   contracts when they provided their PII/PHI to Quest Diagnostics for laboratory and
                                   3   diagnostic services and when they paid for the service provided by Defendants.
                                   4         127. Quest Diagnostics breached its contractual obligations to protect the
                                   5   nonpublic personal information Quest Diagnostics possessed and was entrusted
                                   6   with when the information was accessed by unauthorized persons as part of the
                                   7   Data Breach.
                                   8         128. As a direct and proximate result of the Data Breach and resulting
                                   9   breach of contract, Plaintiff and Class members have been harmed and have
                                  10   suffered, and will continue to suffer, damages and injuries.
                                  11                             SEVENTH CAUSE OF ACTION
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                                  12                               Breach of Implied Contract
                                  13                    (Plaintiff and All Classes Against All Defendants)
                                  14         129. Plaintiff re-alleges and incorporates by reference all paragraphs as if
                                  15   fully set forth herein.
                                  16         130. Defendants provided Plaintiff and Class members with an implied
                                  17   contract to protect and keep private their PII/PHI.
                                  18         131. Plaintiff and Class members would not have provided their PII/PHI to
                                  19   Defendants or their subsidiaries or contractors, but for Defendants’ implied promises
                                  20   to safeguard and protect their information.
                                  21         132. Plaintiff and Class members performed their obligations under the
                                  22   implied contract when they provided their PII/PHI to Quest Diagnostics for laboratory
                                  23   and diagnostic services and when they paid for the service provided by Defendants.
                                  24         133. Defendants breached the implied contracts with Plaintiff and Class
                                  25   members by failing to protect and keep private their PII/PHI.
                                  26         134. As a direct and proximate result of Defendants’ breach of their implied
                                  27   contracts, Plaintiff and Class members have been harmed and have suffered, and will
                                  28   continue to suffer, damages and injuries.
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                                   1                             EIGHTH CAUSE OF ACTION
                                   2                                    Declaratory Relief
                                   3                    (Plaintiff and All Classes Against All Defendants)
                                   4         135. Plaintiff re-alleges and incorporates by reference all paragraphs as if
                                   5   fully set forth herein.
                                   6         136. An actual controversy has arisen in the wake of the Data Breach
                                   7   regarding Defendants’ duties to safeguard and protect Plaintiff’s and Class
                                   8   members’ PII/PHI. Defendants’ PII/PHI security measures were (and continue to
                                   9   be) woefully inadequate. Defendants dispute these contentions and contend that
                                  10   their security measures are appropriate.
                                  11         137. Plaintiff and Class members continue to suffer damages, other injury or
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                                  12   harm as additional identity and medical theft and fraud occurs.
                                  13         138. Therefore, Plaintiff and Class members request a judicial determination
                                  14   of their rights and duties, and ask the Court to enter a judgment declaring, inter alia,
                                  15   (i) Defendants owed (and continue to owe) a legal duty to safeguard and protect
                                  16   Plaintiff’s and Class members’ confidential and sensitive PII/PHI, and timely notify
                                  17   them about the Data Breach, (ii) Defendants breached (and continue to breach) such
                                  18   legal duties by failing to safeguard and protect Plaintiff’s and Class members’
                                  19   PII/PHI, and (iii) Defendants’ breach of their legal duties directly and proximately
                                  20   caused the Data Breach, and the resulting damages, injury, or harm suffered by
                                  21   Plaintiff and Class members. A declaration from the Court ordering Defendants to
                                  22   stop their illegal practices is required. Plaintiff and Class members will otherwise
                                  23   continue to suffer harm as alleged above.
                                  24                              NINTH CAUSE OF ACTION
                                  25                                    Unjust Enrichment
                                  26                    (Plaintiff and All Classes Against All Defendants)
                                  27         139. Plaintiff re-alleges and incorporates by reference all paragraphs as if
                                  28   fully set forth herein.
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                                   1         140. Plaintiff and Class members conferred a benefit to Defendants in the
                                   2   form of payment for laboratory and diagnostic services provided by Defendants, part
                                   3   of which was to pay for Defendants to protect and keep private their PII/PHI.
                                   4         141. Defendants failed to pay for the benefits provided to them by Plaintiff
                                   5   and Class members by failing to protect and keep private the PII/PHI with which
                                   6   Plaintiff and Class members entrusted Defendants.
                                   7         142. Defendants’ failure to pay for the benefits provided to them, i.e., to
                                   8   protect and keep private Plaintiff’s and Class members’ PII/PHI, was to the
                                   9   detriment of Plaintiff and Class members because it was Plaintiff’s and Class
                                  10   members’ PII/PHI that was stolen by cyber thieves.
                                  11         143. As a direct and proximate result of Defendants’ failure to pay for the
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                                  12   benefits provided to them, Plaintiff and the Class have been harmed and have
                                  13   suffered, and will continue to suffer, damages and injuries, and are entitled to
                                  14   restitution
                                  15                                 PRAYER FOR RELIEF
                                  16         144. Damages. As a direct and proximate result of Defendants’ wrongful
                                  17   actions, inaction, omissions, and want of ordinary care that directly and proximately
                                  18   caused the Data Breach, Plaintiff and Class members suffered (and will continue to
                                  19   suffer) actual, consequential, incidental, and statutory damages and other injury and
                                  20   harm in the form of, inter alia, (i) an imminent, immediate and the continuing
                                  21   increased risk of identity and medical theft, and identity and medical fraud – risks
                                  22   justifying expenditures for protective and remedial services for which they are entitled
                                  23   to compensation, (ii) invasion of privacy, (iii) breach of the confidentiality of their
                                  24   PII/PHI, (iv) statutory damages under California’s CMIA and CRA, (v) deprivation
                                  25   of the value of their PII/PHI, for which there is a well-established national and
                                  26   international market, and/or (vi) the financial and temporal cost of monitoring their
                                  27   credit, monitoring financial accounts, and mitigating damages. Plaintiff and Class
                                  28   members also are entitled to equitable relief, including, without limitation,
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                                   1   disgorgement and restitution. Plaintiff’s and Class members’ damages were
                                   2   foreseeable by Defendants and exceed the minimum jurisdictional limits of this Court.
                                   3   All conditions precedent to Plaintiff’s and Class members’ claims have been
                                   4   performed and occurred.
                                   5         145. Punitive Damages. Plaintiff and Class members also are entitled to
                                   6   punitive damages from Defendants, as punishment and to deter such wrongful
                                   7   conduct in the future, pursuant to, inter alia, Cal. Civ. Code § 56.35 and California
                                   8   common law. All conditions precedent to Plaintiff’s and Class members’ claims have
                                   9   been performed and occurred.
                                  10         146. Injunctive Relief. Pursuant to, inter alia, California Civil Code § 56.35,
                                  11   California Civil Code § 1798.84(e), California Civil Code § 1798.47, and Cal. Bus.
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                                  12   & Prof. Code § 17203, Plaintiff and Class members also are entitled to injunctive
                                  13   relief in multiple forms including, without limitation, (i) credit monitoring,
                                  14   (ii) Internet monitoring, (iii) identity theft insurance, (iv) prohibiting Defendants from
                                  15   continuing their above-described wrongful conduct, (v) requiring Defendants to
                                  16   modify their corporate culture and design, adopt, implement, control, direct, oversee,
                                  17   manage, monitor, and audit appropriate data security processes, controls, policies,
                                  18   procedures, protocols, and software and hardware systems to safeguard and protect
                                  19   the PII/PHI entrusted to them, (vi) periodic compliance audits by a third party to
                                  20   ensure that Defendants are properly safeguarding and protecting the PII/PHI in their
                                  21   possession, custody and control, and (vii) clear and effective notice to Class members
                                  22   about the serious risks posed by the theft of the PII/PHI and the precise steps that must
                                  23   be taken to protect themselves. All conditions precedent to Plaintiff’s and Class
                                  24   members’ claims for relief have been performed and occurred.
                                  25         147. Attorneys’ Fees, Litigation Expenses and Costs. Plaintiff and Class
                                  26   members also are entitled to recover their attorneys’ fees, litigation expenses and court
                                  27   costs in prosecuting this action pursuant to, inter alia, California Civil Code § 56.35,
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                                   1   and other authority. All conditions precedent to Plaintiff’s and Classes’ claims for
                                   2   relief have been performed and occurred.
                                   3         WHEREFORE, Plaintiff, on behalf of himself and Class members,
                                   4   respectfully request that (i) this action be certified as a class action, (ii) Plaintiff be
                                   5   designated representative of the Class and Sub-Class and (iii) Plaintiff’s counsel be
                                   6   appointed as counsel for the Class and Sub-Class. Plaintiff, on behalf of himself and
                                   7   members of the Class and Sub-Class further request that upon final trial or hearing,
                                   8   judgment be awarded against Defendants for:
                                   9                 (i)     actual, incidental, consequential, and nominal damages to be
                                  10   determined by the trier of fact;
                                  11                 (ii)    statutory damages;
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                                  12                 (iii)   punitive damages;
                                  13                 (iv)    equitable relief, including restitution, disgorgement of all amounts
                                  14   by which Defendants have been unjustly enriched;
                                  15                 (v)     pre- and post-judgment interest at the highest legal rates
                                  16   applicable;
                                  17                 (vi)    appropriate injunctive relief;
                                  18                 (vii) attorneys’ fees and litigation expenses;
                                  19                 (viii) costs of suit; and
                                  20                 (ix)    such other and further relief that the Court deems just and proper.
                                  21                                DEMAND FOR JURY TRIAL
                                  22         Plaintiff hereby demands a jury trial on all issues so triable.
                                  23                                              Respectfully submitted,
                                  24   Dated: June 11, 2019                        BLOOD HURST & O’REARDON, LLP
                                                                                   TIMOTHY G. BLOOD (149343)
                                  25                                               THOMAS J. O’REARDON II (247952)
                                                                                   JENNIFER L. MACPHERSON (202021)
                                  26
                                                                                   By:      s/ Timothy G. Blood
                                  27                                                         TIMOTHY G. BLOOD
                                  28                                               501 West Broadway, Suite 1490
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